                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             BRYSON CITY DIVISION
                                   2:12 cr 33-2


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )            ORDER
                                             )
KENNETH ASHE.                                )
______________________________________       )


        THIS MATTER came on to be heard before the undersigned, pursuant to

an Ex Parte Motion to Withdraw as Counsel of Record and Request for

Appointment of New Counsel (#117), on October 31, 2013.              In the motion,

Defendant’s attorney Fredilyn Sison requests permission to withdraw as counsel

for Defendant. At the call of this matter on for hearing, it appeared that Defendant

was present and his attorney Ms. Sison was present, and the Government was

present and represented by Assistant United States Attorney Tom Kent. From the

evidence offered and the arguments of counsel for Defendant and the arguments of

the Assistant United States Attorney, the Court makes the following findings.

        Findings.   At the call of this matter, Ms. Sison advised the Court that in

hearing the matter it was her opinion that she would have to disclose confidential

communications between herself and the Defendant and Ms. Sison then moved to

seal the proceedings and to exclude the United States Attorney. After providing


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Mr. Kent an opportunity to be heard, the undersigned granted the motion and

sealed the proceeding.    The information provided by Ms. Sison and by the

Defendant shall appear in the sealed record. It is the opinion of the Court there

was revealed, during this hearing, confidential communications between Ms. Sison

and Defendant.

      After conducting the sealed proceeding and making inquiry of Defendant

and Ms. Sison, the undersigned opened the courtroom and allowed Mr. Kent to

return to the courtroom. The undersigned then heard arguments from Mr. Kent

who objected to Ms. Sison’s request that she be allowed to withdraw as counsel for

Defendant.

      The records in this cause show that Defendant was charged in a bill of

indictment filed on December 4, 2012 with conspiracy to traffic in crack cocaine,

in violation of 21 U.S.C. § 841(a)(1) and 846. On February 19, 2013, Defendant

executed a plea agreement (#48) in which he agreed to plead guilty to the single

count as contained in the bill of indictment. This Court conducted a Rule 11

inquiry and accepted Defendant’s plea of guilty (#54) on March 19, 2013.

Thereafter, the Presentence Investigation Report (#71) was filed in this matter on

June 28, 2013. On July 12, 2013, Mr. Rodney Hasty, attorney for Defendant, filed

a Motion to Withdraw as Counsel for Defendant (#72). Prior to the hearing of that


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motion, a Final Presentence Investigation Report (#73) was filed on July 19, 2013.

After hearing the motion to withdraw, the undersigned allowed the motion on

August 6, 2013 and attorney Eric J. Foster was appointed to represent Defendant.

On August 14, 2013, Mr. Foster filed an Ex Parte Motion to Withdraw (#82) as

counsel for Defendant. That motion was heard on August 21, 2013 and was

allowed. Ms. Sison was then appointed to represent Defendant.

         Discussion. An indigent Defendant has no right to have a particular lawyer

represent him or her and can demand a different appointed attorney only with good

cause.      US v. Allen, 789 F.2d 90, 92 (1st Cir. 1986). The determination of

whether or not a motion to withdraw should be granted is within the discretion of

the trial court and the Court is entitled to take into account the countervailing state

interest in proceeding on schedule. Morris v. Slappy, 461 U.S. 1 (1983). In

considering the motion herein, the undersigned has considered the following

factors: (1) timeliness of the motion; (2) made an inquiry as to the reasons why

Ms. Sison wishes to withdraw from the representation of Defendant in this matter;

and (3) whether or not there is such a conflict between the Defendant and Ms.

Sison that is so great it has resulted in a total lack of communication preventing an

adequate defense. United States v. Gallop, 838 F.2d 105 (4th Cir. 1988).

         Although the undersigned has considered that Ms. Sison has promptly filed


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her motion to withdraw, on the other hand, the Court must consider that Defendant

entered a plea of guilty in March of 2013 and the Presentence Report has been

prepared and if it were not for pending motions made by Defendant, the Defendant

would have already been sentenced. As a result, this factor must be weighed

against granting the motion.

      The undersigned has made an inquiry as to the reasons why Ms. Sison

desires to withdraw.   Without revealing the content of the sealed proceedings or

the reasons for withdrawal of previous counsel, it appears the reasons for the

request for withdrawal of each of the three attorneys who have represented

Defendant are consistent. The Defendant wishes to withdraw his plea of guilty and

counsel is in fear that in presenting such a contention they will violate the Rules of

Professional Conduct of the North Carolina State Bar. It appears that the Rule that

is of concern of each attorney is Rule 3.1. Rule 3.1 of the Rules of Professional

Conduct of the North Carolina State Bar state as follows:

      Rule 3.1: MERITORIOUS CLAIMS AND CONTENTIONS

      A lawyer shall not bring or defend in a proceeding, or assert or
      controvert an issue therein, unless there is a basis in fact and fact for
      doing so that is not frivolous, which includes a good faith argument
      for an extension, modification or reversal of existing law. A lawyer
      for the defendant in a criminal proceeding or the respondent in a
      proceeding that could result in incarceration may nevertheless so
      defend the proceeding so as to require that every element of the case
      be established.

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      It also appears that there is a concern by Ms. Sison that the requirements of

Rule 3.3 of the Rules of Professional Conduct. This Rule provides as follows:


             Rule 3.3:    CANDOR TOWARD THE TRIBUNAL

             (a) A lawyer shall not knowingly (3) offer evidence that the
             lawyer knows to be false. If a lawyer, the lawyer’s client,
             or a witness called by the lawyer, is offered material evidence
             and the lawyer comes to know of its falsity, the lawyer shall
             take reasonable remedial measures, including, if necessary,
             disclosure to the tribunal. A lawyer may refuse to offer
             evidence, other than the testimony of a defendant in a criminal
             matter, that the lawyer reasonably believes is false.

      The undersigned has considered the arguments of Ms. Sison but finds that

any ethical attorney who would be confronted with the ethical issues in this case

may be required to file a motion to withdraw. This would lead to a circumstance

where the only lawyer who could represent Defendant would be an attorney who

would not comply with the Rules of Professional Conduct. The undersigned will

weigh this factor against granting the motion.

      The undersigned has further examined the matter to determine whether or

not there is such a conflict between Defendant and Ms. Sison such that there is

total lack of communication between them preventing an adequate defense. Such a

circumstance does not exist in this case.




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      After considering all the factors, it appears that all factors weigh in favor of

denying the motion to withdraw.

                                       ORDER

      IT IS, THEREFORE, ORDERED that the Ex Parte Motion to Withdraw

as Counsel of Record and Request for Appointment of New Counsel (#117) is

hereby DENIED.

                                               Signed: November 4, 2013




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